                          Case 1:10-cv-04235-TCB Document 1-3 Filed 12/29/10 Page 1 of 2
J544 (Rcv. 1108 NDGA)                                                    CIVIL COVER SHEET
T he J544 civil cov er sheet and the informati on contained he rein nei ther replace nor supplement the filing and service of pleadings or o ther papers as req u i red bylaw, ex cept a s
provid ed by local rules of court. This form is required for the use of the Clerk of Cou rt for the purpose of iu i tiating the civil docket reco rd . (SEE INSTRUCTIONS ATTACHED)



I . (a) PLAINTIFF(S)                                                                                  DEFENDANT(S)
 Mark Dees & Claire Dees                                                                               Washington Mutual Bank , F . A., Chase Home Finance, LLC ,
                                                                                                       JPMorgan Chase Bank , N .A ., & John Does 1-1000



   (b) COUNTY OF RESIDENCE OF FIRST LISTED                                                           COUNTY OF RESIDENCE OF FIRST LISTED
       PLAINTIFF Gwinnett                                                                            DEFENDANT N/A
                            (EXCEPT IN U.S. PLAINTIFF CASES)                                                           (IN US. PLAINTIFF CASES ONLY)

                                                                                                      NOTE : IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF
                                                                                                            LAND INVOLVED


    ( C ) ATTORNEYS(FIRM NAME,                     ADDRESS, TELEPHONE NUMBER, AND                     ATTORNEYS pF icriowx}
                                     E-MA IL ADDRESS)                                              Sharon J . McGinnis, Julie C . Jared, and Ryan D. Watstein of
 Plaintiffs are pro se .                                                                           Wargo & French, LLP, 1170 Peachtree Street NE, Suite 2020,
                                                                                                   Atlanta, GA 30309




II . BASIS OF JURISDICTION                                                        III. CITIZENSHIP OF PRINCIPAL PARTIES
      (PLACE A N °X" IN ONE BOX ONLY)                                                       (PLACE AN °X" IN ONE BOX FOR PLAINTIFF AND ONE BOX FOR DEFENDANT)
                                                                                                               (FOR DIVERSITY CASES ONLY)

                                                                                  PLF         DEF                         P LF           DEF

    1 U.S. GOVERNME NT         ~ 3 FE DER AL Q UES TION                                 I   ~ I CITIZEN O F     THIS     STATE       4
       PLAINTI FF                  (U.S. GOVERNME NT NOT A PARTY)                                                                                   PLACE OF BUSIN ESS IN THIS STATE

    2135. GOVERNMENT           ~ 4 DIVERSITY                                        2       ~ 2    CITIZEN OF ANOTHER STATE ~ 5            ~ 5 INC ORPORATED AND PRINC IPAL
        DEFENDANT                    ( INDICATE C ITIZENSH IP OF PARTIES                                                                        PLACE OF BUSINESS IN ANOTHER
                                      IN ITEM III                                                                                               STAT E
                                                                                               3   CITIZEN OR SUB3ECF OF A
                                                                                                   FOREIGN COUNTRY               [] 6      r-1 6 FOREIGN NATION




IV . ORIGIN              ( PLACE A N °X   -IN ONE BOX ONLY)
                                                                                                                                 JUDGE
Q 1 ORIGINAL [212 REMOVED FROM D 3 REMANDED FROM D 4 REINSTATED OR D 5 ANOTHER DISTRICT D 6 M ULTTUI STRICT Q 7 FROM MAGISTRATE JUDGE
   PROCEEDING S TATE CO URT APPELLATE COURT          REOPENED          (Spe cify District) LITIGATION JUDGMENT


V. CAUSE OF                  ACTION (CITE THE US . CIVIL STATUTE UNDER WHICH YQ U AR E FI LI NG AND WRITE A BRI EF STATEM ENT OF CAUSE - DO NOT C ITE
                                    JURISDICTIONAL STAT U T ES UN LESS DI VER SfTYJ

 Plaintiffs purport to seek various relief for Defendants' alleged failure to produce the original "wet ink" promissory notes prior to
 foreclosing on a piece of real property .




(IF C OMPLEX , C HECK RE ASON B E LOW )

   [:11 . Unusu ally large numb er of partie s.                                     Q 6 . Probl ems locat ing or preserving eviden ce

   El 2 . Unusually large numb er of claim s or defe n s e s.                       Q 7 . Pen ding paral lel inves tigat i ons o r ac tio ns by governme nt.

   Q 3 . Fac tual i ssues are except ionally complex                                Q 8 . Multip le u se of exp erts .

   [] 4 . Greater than normal volum e o f e v ide nce .                             Q 9 . Need for di scovery outside United States b oundaries .

   Q 5 . Extend e d discovery period i s needed .                                   Q 10. Existence of highly te chn i cal i ssu es and proof.

                                                                         C ONTINUED ON REVERS E




                                                                                                                                            ~    C, v-,
                         Case 1:10-cv-04235-TCB Document 1-3 Filed 12/29/10 Page 2 of 2
VI . NATURE OF SUIT                      (PL   ,.cE AN   -X- IN ONE BOX ONLY)


CONTRACT - "0" MONTHS DISCOVERY TRACK'                         CIVIL RIGHTS- "4" MONTHS DISCOVERY TRACK                   SOCIAL SECURITY - "0" MONTHS D ISCOVERY
  0 150 RECOVERY OF OVERPAYMENT &                                     44 1 VOTING                                         TRACK
             ENFORCEMENT OF JUDGMENT                                    442 EMPLOYMENT                                     0 961 HIA (i195( )
  Q       152 RECOVER Y OF DEFAULTED S TUDENT                           40
                                                                         .7 HOLI5 INGl A CCOMMODATIONS                     Q 86] BLACK LUNG (427)

  Q
              LOANS (E-vL Veterans)
          153 RECOVERY OF OVERPAYMENT OF                          R     IM W EL FAR E
                                                                  Q 440 OTHER C IVIL RIG HTS
                                                                                                                               863 DIWC (405l i 1)
                                                                                                                               861DIWR'(40S(g))
             VETERAN 'S BENEFITS                                  B     14 5AMERICANS xith DISABILITIES - Employ ment      ~~ 8645Sm TITLE XVI
                                                                        446 AME RICANS with DISABILITIES - Offer           ~!  US "I (405(g))
                                                                                                                           LJ
CONTRACT - "4" MONTHS DISCOVERY TR ACK
  Q 110 INSURANCE                                              IMMIGRATION - ^0 " MO NTHS DIS CO V ERY TRACK  FE D ERAL TAX SUITS - ^4 ^ MONTHS DISC OVERY
  Q 120 MAR INE                                                       462 NAT U RALIZATIO N APPLIC ATION     TRACK
  D 130 MILLER ACT                                               Q 463 HABEAS CORPUS- Alien Detainee            0 1170 TAXES (US. Plaintiff or Delendent)
  17-1 140 NEGOTIABLE INSTRUMENT                                 0 465 OTHER IMMIGRA11ON ACTIONS                Q 877CR 5-THIRD PARTY 26USC7609
  0 15 1 MEDIC ARE ACT
  O       160 STOCICEiOLDERS' SUITS                            PRISONE R PETITIONS - "0" MONTHS DISCOVE R Y               OTHE R STATUTES - "4" MONTHS DISCOVERY
  D       790 OTH ER CONTRACT                                                                                             TRACK
                                                               TRACK
  D 195 CO NTRACT PRO D UCT LIABIL ITY                                                                                     =] 400 STATE REAPPORTIONMENT
                                                               -a 5 1 0 MOT IONS TO VACATE SENT ENCE
  Q 196 FRANCHISE
                                                                 Q 530 HABEAS C ORPUS                                      r-I 430 BANKS AND BANKING
                                                                  D S 35 HABEAS CORPUS DEATH PENALTY                               450 COMMERCE/ICC RATESlETC .
REAL PROPE R TY - "4 " MONTHS DISCOVE R Y                         D 540 MANDAMUS & OTHER                                           460 DEPORTATION
T RACK                                                            Q     S50 C ML RIG HTS -Pled Prom                                470 RACKETEER INFLUENCED AND CORRUPT
   O 2 10 LAND CONDEMNATION                                       O     355 PRISON CONDITION(S) - Filed Pro                            ORGANIZATIONS
                                                                                                                                   480 CONSUMER CREDIT
   ~ 22 0 FORECLOSURE
   O 23 0 RENT LEAS E & EdECCMEI~I'F'
   O 2 40 T O RTS TO LAND
                                                               PRI SONER PETITIONS - "4 " MONTHS DISCOVERY
                                                               TRACK
                                                                                                                           B       490 CABLFIS AT ELLITE TV
                                                                                                                           0 810 S ELECTIVE SERVI CE
          245 TORT PRODUCT LIABILITY                                                                                       Q  875 CUSTOME R CHALLENGE 12 USC 3410
                                                                  Q   550 C IVIL RIGHTS - Filed by Counial
  E-1     2 90 ALL OTH ER REAL PROPERTY                           Q     555 PRISON CONDITION(S) - Filed by Counsel         O       99 1 AGRICULTURAL ACT 'S
                                                                                                                           O 892 ECONOMIC STABILIZATION ACT
                                                                                                                           D 893 ENVIRONMENTAL MATTE RS
TOR TS - PERSONAL INJURY - " 4 " MONT H S                      FQRFE I TUREIPENALTY- "4 ^ MONTHS DISCOVE R Y               C~ 894 ENERGY ALLOCATION A CT
DI SCOVE R Y TRACK                                             T RACK                                                      D     895 FREE DOM OF INFORMATION ACT
   0 310 AIRPLANE                                                     6 1 0 AGRICULTURE                                    O       900 APPE AL O F FE E DETERMINATION UN DER
  0       315 AIRPLANE PRODUCT LI ABILITY                         O 620 FOOD & DRUG                                                    EQUAL ACCESS TO JUST I CE
          320 ASSAULT, LIBEL & S LANDER                           a 625 DRUG RELATED SEIZ U RE OF PROPERTY                 Q       950 CONSTITUTIONALITY OF STATE STATU T ES
          33 0 FED ERAL EMPLOY ER S' L IABILITY                             21 USC 881                                     Q       8" OTH E R STATUTORY ACTIONS
  0       34 0 MARINE                                             O 630 LIQUOR LAWS
  D       345 MARINE PRO DUCT LIABILITY                           Q 640 R.R. & TRUCK                                      OTHE R STATUTES-"8" MONTH S DISCOVE RY
  D       350 MOTOR VEH ICLE                                      Q 650 AIRLINE REDS .                                    TR ACK
  D 355 MOTO R VEH ICLE PRODUCT LIA BIL IT Y                      0 660 OCCU PATIONAL SAF ETY ! H EALTH                            4 10 ANTITRUST
  e 360 OTHER PE RSO NAL INJURY                                   E=1 6" OTHER
                                                                                                                           czi     850 SECURITIES I COMMODTTIFS l EXL7IANGE
      362 PERSONAL INJURY -MEDICAL
             MALPRA C TI C E
                                                               LA BOR - ^4" MONTHS D ISCOVERY TR ACK                      OTHER STATUTES -"0" MONT HS D I SCOVERY

  E       365 PERSONAL INJURY - PRODUCT LIA BI L ITY
          368 AS BESTOS PERSONAL INJURY PRODUCT
              LIABILIT Y
                                                                      710 FAIR LABOR STANDARDS ACT
                                                                      720 IABOR/MGMT. RELATIONS
                                                                        730 WBOA/MGMT. REPORTING & DISCLOSURE
                                                                                                                          TR ACK
                                                                                                                                  ARBITRATION (Confirm / Vxale / Order / Modify)

                                                                          ACT
TORTS - PERSONAL P ROPERTY - " 4" MONTHS                                                                                       (No te : Mark u nderl ying Nature o f S uit as well)
                                                                        790 RAI LWAY LABOR ACT
DISCOVERY TRACK                                                   [ :3 7" OTHER LABOR LITIGATION
          J70 OT HE R FRAU D                                            791 EF1PL RET. INC. SE CURITY ACT
  Q       371 TRUTH IN LE NDING
  Q       J80 O THE R PE R SONAL PRO PERTY DAMAGE              PROP ERTY RIGHTS - "4 " MONTHS DISCOVE R Y
  17-1    395 PROPE RTY DA MAG E PRODUCT LIABILITY
                                                               TRACK
                                                                        Sze COPYRIGHTS                                    * PLEASE NOTE DI SCO VERY
                                                                        &10 TRADEMARK
BANKRUPTCY - " 0" MONTHS DISCOVERY                                                                                          TRACK FOR EACH CASE TYP E .
TRACK                                                          PROP ERTY RIG HTS- ^8 " MONTHS DI SCOV ER Y                  SEE LOCAL RULE 2 6.3
  M 422 APPEAL 28 USC 158                                      TRAC K
  17-1 423 WITHDRAWAL 28 USC 157                                      830 PATENT



VII . REQUESTED IN COMPLAINT :
  Q CHECK IF CLASS ACTION UNDER F.R.Civ.P. 23 DEMAND S
JU RY DEMAN D [:] YES Ej NO (CHE C K YE S ON LY IF D EMANDED IN COMPLAINT)


VIII. RELATED/REFILED CASE(S) IF ANY
          JUDGE Not Yet Known                                                           DOCKET NO. 1 : 10-CV-4218

CIVIL CASES ARE DEEMED RELATED IF THE PEND ING CASE INVOLVES : (cKecKwrreopeuTe BOX)
 Q 1 . PROPERTY INCLUDE D I N A N EA RLIER NUM BE R E D P ENDING SU IT.
      2 . SA M E ISSU E OF FACT OR ARI SES O UT OF THE SAME E VENT OR TRANSACTION INCLUDED IN AN EARL IER NUMBERED PENDING SUIT .
      3 . V ALIDITY OR INFRINGEMENT OF THE S AM E PATENT, COPY RIGHT OR TRADEMARK INC LUDED IN AN EARLI ER NU MBERED PEN DING SU IT .
          4 . A PPEALS ARI SING OU T OF THE SAME BANKRUPTCY C A SE AND A NY CA SE RELATED T H ERE TO WHI C H HAVE BEE N DECIDED BY THE S AME
              BANKRUPTCY JU DGE .
 Q       5 . REPETITIVE CASES FIL ED BY PRO SE LITIGANTS.

 D       6 . C OM PANION OR RELA TED C ASE TO C A SE(S) BEING SIMULTANEOUSLY FI LED (INCLU D E ABBREVIATED ST YLE O F OTHER CASE(S)) :


          7 . E IT HE R SA ME OR A LL OF THE PART IES AND ISSU ES IN THIS CASE WERE PREVIOUSLY INV OLVED IN CA SE NO.                                              WHICH WAS
              DISMISSED. This .e= IS Q IS NOT (chec k nee boz) SU B S TANTIALLY TH E SAME C ASE .




 Julie C. Jared, Esc                                                                                            December 29, 20 1 0
S IGNATURE OF                                                                                                  DA TE
